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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                            Criminal No. 15-216(2) (DWF/LIB)

                      Plaintiff,

v.                                                     ORDER ADOPTING REPORT
                                                        AND RECOMMENDATION
Alfredo Gil-Garcia,

                      Defendant.


      The above matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge Leo I. Brisbois dated December 7, 2015. (Doc.

No. 59.) No objections have been filed to that Report and Recommendation in the time

period permitted. The factual background for the above-entitled matter is clearly and

precisely set forth in the Report and Recommendation and is incorporated by reference.

Based upon the Report and Recommendation of the Magistrate Judge and upon all of the

files, records, and proceedings herein, the Court now makes and enters the following:

                                        ORDER

      1.     Magistrate Judge Leo I. Brisbois’s Report and Recommendation (Doc.

No. [59]) is ADOPTED.

      2.     Defendant’s Motion to Suppress Statements (Doc. No. [49]) is GRANTED.

Dated: January 6, 2016                   s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge
